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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------------------x
                                                                          :
 In re:                                                                   :        Chapter 11 Case No.
                                                                          :
 LEHMAN BROTHERS HOLDINGS INC., et al.,                                   :        08-13555 (SCC)
                                                                          :
                                     Debtors.                             :        (Jointly Administered)
                                                                          :
 -------------------------------------------------------------------------x        Ref. Docket Nos. 48617-48619

                                           AFFIDAVIT OF SERVICE

 STATE OF NEW YORK  )
                    ) ss.:
 COUNTY OF NEW YORK )

 CHRISTINA SIGEUNZA, being duly sworn, deposes and says:

 1. I am employed as a Noticing Coordinator by Epiq Bankruptcy Solutions, LLC, located at 757
    Third Avenue, New York, New York 10017. I am over the age of eighteen years and am not
    a party to the above-captioned action.

 2. On February 23, 2015, I caused to be served the:

      a) “Notice of Withdrawal of the Thirty-Fifth Omnibus Objection (Valued Derivative
          Claims) as to Certain Claims,” dated February 23, 2015 [Docket No. 48617], (the “35th
          NOW”),

      b) “Notice of Withdrawal of the Sixty-Seventh Omnibus Objection (Valued Derivative
          Claims) as to Certain Claims,” dated February 23, 2015 [Docket No. 48618], (the “67th
          NOW”), and

      c) “Notice of Hearing on the Four Hundred Ninety-Fourth Omnibus Objection to Claims
          (Valued Derivative Claims),” dated February 23, 2015, to which was attached the “Four
          Hundred Ninety-Fourth Omnibus Objection to Claims (Valued Derivative Claims),”
          dated February 23, 2015 [Docket No. 48619], (the “494th Omnibus NOH”),

      by causing true and correct copies of the:

           i. 35th NOW, 67th NOW and 494th Omnibus NOH, to be delivered via electronic mail to
              those parties listed on the annexed Exhibit A,

          ii. 35th NOW, 67th NOW and 494th Omnibus NOH, to be enclosed securely in separate
              postage pre-paid envelopes and delivered via overnight mail to those parties listed on
              the annexed Exhibit B,


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         iii. 35th NOW, to be enclosed securely in a postage pre-paid envelope and delivered via
              first class mail to the party listed on the annexed Exhibit C,

         iv. 67th NOW, to be enclosed securely in a postage pre-paid envelope and delivered via
             first class mail to the party listed on the annexed Exhibit D, and

          v. 494th Omnibus NOH, to be enclosed securely in separate postage pre-paid envelopes
             and delivered via first class mail to those parties listed on the annexed Exhibit E.

 3. All envelopes utilized in the service of the foregoing contained the following legend:
    “LEGAL DOCUMENTS ENCLOSED. PLEASE DIRECT TO THE ATTENTION OF
    ADDRESSEE, PRESIDENT OR LEGAL DEPARTMENT.”

                                                                              /s/ Christina Siguenza
                                                                                  Christina Siguenza
 Sworn to before me this
 25th day of February, 2015
 /s/ Panagiota Manatakis
 Notary Public, State of New York
 No. 01MA6221096
 Qualified in Queens County
 Commission Expires April 26, 2018




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                                EXHIBIT A
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  slevine@brownrudnick.com                     villa@slollp.com
  sloden@diamondmccarthy.com                   vmilione@nixonpeabody.com
  smillman@stroock.com                         vrubinstein@loeb.com
  smulligan@bsblawyers.com                     wanda.goodloe@cbre.com
  snewman@katskykorins.com                     wballaine@lcbf.com
  sory@fdlaw.com                               wbenzija@halperinlaw.net
  squsba@stblaw.com                            wchen@tnsj-law.com

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                   Lehman Brothers Holdings Inc. Email Service List


  wcurchack@loeb.com
  wfoster@milbank.com
  will.sugden@alston.com
  wisotska@pepperlaw.com
  wk@pwlawyers.com
  wmaher@wmd-law.com
  wmarcari@ebglaw.com
  wmckenna@foley.com
  wrightth@sullcrom.com
  wsilverm@oshr.com
  wswearingen@llf-law.com
  wtaylor@mccarter.com
  wzoberman@bermanesq.com
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                                EXHIBIT B
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                 Lehman Brothers Holdings Inc. Overnight Service List

 OFFICE OF THE US TRUSTEE
 U.S. FEDERAL OFFICE BUILDING
 ATTN: WILLIAM K. HARRINGTON, ESQ.,
 SUSAN D. GOLDEN, ESQ.
 ANDREA B. SCHWARTZ, ESQ.
 201 VARICK STREET, ROOM 1006
 NEW YORK, NY 10014


 INTERNAL REVENUE SERVICE
 SPECIAL PROCEDURES BRANCH
 ATTN: DISTRICT DIRECTOR
 290 BROADWAY
 NEW YORK, NY 10007
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LBH OBJ_(D.I.48617)_2-23-15

LINCORE LIMITED
C/O BAKER & MCKENZIE
ATTN: IRA REID
1114 AVENUE OF THE AMERICAS
NEW YORK, NY 10036
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LBH OBJ_(D.I.48618)_2-23-15

E-CAPITAL PROFITS LIMITED
C/O BAKER & MCKENZIE
ATTN: IRA REID
1114 AVENUE OF THE AMERICAS
NEW YORK, NY 10036
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E-CAPITAL PROFITS LIMITED                             LINCORE LIMITED
C/O BAKER & MCKENZIE                                  C/O BAKER & MCKENZIE
ATTN: IRA REID                                        ATTN: IRA REID
1114 AVENUE OF THE AMERICAS                           1114 AVENUE OF THE AMERICAS
NEW YORK, NY 10036                                    NEW YORK, NY 10036
